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                                            #234
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                          )
                                                   )
                    Plaintiff,                     )
                                                   )
v.                                                 )
                                                   )        Case No. 10-CR-30053-MJR
JUDIOUS KIZEART, BRENT CASH,                       )
DARRYL MADISON, THADIUS PAGE,                      )
TERRILL CLARK, GARY PAYNE and                      )
MICHAEL WILLIAMS,                                  )
                                                   )
                    Defendants.                    )


                                     Court’s Sentencing Memorandum

REAGAN, District Judge:

                    The Court, as part of its sentencing obligation, is to consider the “the

nature and circumstances of the offense.”1 With that obligation in mind, the Court

enters this sentencing memorandum regarding dog fighting. Unlike drug and gun

cases, this Court has no experience with the crime of dog fighting and felt additional

background and research was necessary to fulfill its sentencing obligation. This

memorandum is entered well in advance of the sentencing hearing in the instant case in

order to provide the parties with research the Court has gleaned outside the record in

this case.




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    18 U.S.C. § 3553(a)(1) (2006).
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      I. Introduction

             Dog fighting has attracted much social attention in recent years. Although

it was once considered an acceptable form of entertainment, today it is illegal in all 50

states and by Act of Congress. This memo will explore the unseemly world of dog

fighting, discussing the origin and the history of dog fighting, the procedures for

training dogs and holding dog fights today and notable dog fighting cases which serve

as an example and reference for the judiciary, such as Michael Vick’s case.

             This review of the history and methodology of dog fighting is generic; that

is, it is not meant to be construed as applicable to the cases currently on the Court’s

docket which have their own histories and fact patterns.




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         II. History of Dog Fighting in the United States

                 Dog fighting began in the United States as a cultural import from

England. While historians believe that dog fighting was introduced to colonial America

as early as 1750, the blood sport did not gain in popularity in America until the

nineteenth century.2 The surge in popularity corresponded with a surge in England

around the same time. Parliament passed the Humane Act of 1835,3 which banned

baiting sports—when dogs would fight larger animals, like bulls and bears, while the

larger animal was tethered to stake.4 Baiting sports were enormously popular within all

circles of British society. With the new ban on these activities, dog handlers and baiting

enthusiasts were left searching for a legal substitute to fill the void. As an alternative to

baiting events, handlers of fighting dogs began to stage dog fights.5 While fighting

events between larger animals and dogs were banned, dog fighting was a legal

alternative that British society could enjoy.6

                 English and Irish immigrants arrived to the United States, bringing their

fighting dogs with them. As a result, fighting dogs began to arrive in large numbers to

the United States, initiating the start of a popular pastime for American culture.

Initially, the sport was endorsed by the United Kennel Club, and the organization

provided official rules and referees.7 Immensely popular among firefighters and police
2
  ASPCA, Dog Fighting FAQ, http://www.aspca.org/fight-animal-cruelty/dog-fighting/dog-fighting-faq.html (last visited
Mar. 15, 2010).
3
  Julie Bank & Stephen Zawistowski, History of Dog Fighting, ASPCA ANIMAL WATCH, Fall 1997, available at
http://www.aspca.org/fight-animal-cruelty/dog-fighting/history-of-dog-fighting.html.
4
  Id.; see also Humane Act, 1835, 5 & 6 Will. 4, c. 59, § 3 (Eng.).
5
  Bank & Zawistowski, supra note 3.
6
  The Humane Act of 1835 . . . Promoted Dog Fighting, LAMPPOST (Colonial Terrier Club, Virginia Beach, Va.), Oct.
2007, at 1.
7
  Hanna Gibson, Dog Fighting Detailed Discussion (2005), http:// www .animallaw .info/ articles/ ddusdogfighting.htm.


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officers, dog fighting events became common entertainment for the working class in the

United States, so much so that public forums, like local taverns and sporting halls,

would regularly host dog fights.8 During the height of the sport’s popularity, upcoming

dog fights would be advertised in national magazines, like the National Police Gazette.9

The blood sport was so popular with Americans that railroad companies would even

offer special fares to a dog fight.10 Despite the popularity, local state legislatures began

to ban the sport during the 1860s but did little to enforce the new laws.11 Lax

enforcement resulted in the continued popularity of the sport to the 1930s, when the

support of the United Kennel Club as well as other high profile organizations was lost,

driving dog fighting underground.12

                 During the late 1960s, dog fighting received a new resurgence because two

periodicals dedicated to the sport of dog fighting were published. Both Sporting Dog

Journal and Pit Dog Report helped renew interest by providing information about dog

fighting. As a result of these periodicals, the numbers of dog fights in the United States

increased.13




8
  Id.
9
  See Bank & Zawistowski, supra note 3.
10
   See Gibson, supra note 7.
11
   Id.
12
   Id.
13
   See The Humane Act of 1835 . . . Promoted Dog Fighting, supra note 6, at 2.


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        III. Dog Fighting on an International Scale

                 Presently, despite an almost global ban on dog fighting, the sport has

grown into a billion dollar industry and continues to draw new fans and handlers each

year.14 In countries where dog fighting is illegal, the sport continues to surreptitiously

grow at an accelerated rate out of the public eye. “Legal or not, dog fights are openly

held in parts of Latin America, Pakistan and Eastern Europe, and clandestinely in the

U.S. and the United Kingdom.”15 In the United Kingdom, for example, the government

has issued reports stating dog fighting has gone up 400% in the last three years and is

expected to continue to gain in popularity, especially among children and teenagers.16

Afghanistan is another country that has seen an increase in dog fighting in recent years.

Originally banned by the Taliban, who viewed the sport as “un-Islamic,” dog fighting

was an almost unheard of practice under the Taliban rule, but since the overthrow of

the Taliban regime, Afghanistan has seen a resurgence of the sport as a form of

entertainment.17 In the capital of Afghanistan, dog fights draw as many as 2000 people

in attendance, and betting pots run as high as $10,000.18 Furthermore, in Italy, the sport

flourishes under the control of the Italian Mafia, which makes an estimated five

hundred million dollars yearly from it.19

                 While some countries have outlawed dog fighting, it has not been

14
   See OFF THE CHAIN: A SHOCKING EXPOSE ON AMERICA’S FORSAKEN BREED (Bobby J. Brown producer 2004).
15
   Monica Villavicencio, Inside the Underground Word of Dog Fighting, NPR, July 19, 2007, http:// www .npr .org/
templates/ story/ story.php?storyId=12098479.
16
   The Report: Inside the World of Dog-Fighting (BBC Radio 4 broadcast July 30, 2009), available at http:// www .bbc
.co .uk/ programmes/ b00lszhl.
17
   Kirk Semple, Dogfighting Making a Comeback in Afghanistan, N.Y. TIMES, Dec. 28, 2008, at A6, available at http://
www .nytimes .com/ 2008/ 12/ 28/ world/ asia/ 28dogfight .html.
18
   Id.
19
   See Gibson, supra note 7.


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specifically banned in many parts of Eurasia. Russia, for example, is one country where

dog fighting is legal, with the exception of the capital city of Moscow, and has

experienced a new surge of popularity for dog fighting as a source of entertainment for

the locals. It is growing especially popular among young people, who view owning a

fighting dog as a status symbol in Russian culture.20 Like Russia, Japan is another

country which has sanctioned dog fighting, in almost all parts of the country.21

However, Japanese dog fighting is not as lethal as it is elsewhere. Comparable to Sumo

wrestling, Japanese dog fights are judged by points, while dogs attempt simply to pin

their opponent to the floor, as opposed to merely inflicting as much damages as

possible onto the other dog. Like Sumo wrestlers, the fighting dogs are ranked

according to their success rate and don ceremonial dressings at fights.22 Dating back to

the times of the Samurai, Japanese dog fighting is not as popular as it once was but still

attracts tens of thousands every year.23




20
   Fighting by Proxy: New Russians Send Their Dogs Into Battle, RUSSIA J., Apr. 26, 1999, available at http:// www
.russiajournal .com/ node/ 1086.
21
   Douglas G. Link, History of Animal Fighting, http://game-bred.com/history-animal-fighting.htm (last visited Mar. 15,
2010).
22
   Catherine Marien-de Luca, Tosa Inu, Tosa Ken (Japanese Mastiff, Tosa Dog, Tosa Touken, Tosa Tôken), http:// www
.bulldoginformation .com/ Tosa-inu.html (last visited Mar. 15, 2010).
23
   Ben Hills, It’s Dog Fight Dog in Japan’s Dying Sport: The Fighting Dogs of Shikoku, SYDNEY MORNING HERALD,
Aug. 29, 1994, at 10, available at http://www.benhills.com/articles/articles/JPN32a.html.


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        IV. The Details of the Blood Sport


                 a.       The Levels of Dog Fighting

                 Like other criminal activities, law enforcement agents profile dog fighters

according to their level of sophistication. The three categories in which law enforcement

classifies dog handlers are professionals, hobbyists, and street fighters.24

                 Professional dog fighting is both lucrative and well organized. Regarded

as the most sophisticated group of dog fighters, professional handlers focus on the

monetary gains to be had from fighting, breeding, or selling fighting dogs.25 To

professional handlers, dogs are viewed only as investments, and as a result, the dogs

are constantly evaluated for their potential return rate. If a dog is a poor investment, the

dog will either be killed or abandoned. In an effort to increase their profits, professional

handlers will keep a larger number of dogs, usually fifty or more at a time.26 Because

professional handlers fight dogs for monetary returns, creating the best specimen for

fighting is their main concern. Professional handlers are careful to record each dog’s

training regiment in what is referred to as a ‘keep journal.’ Here the handlers record all

the details of a dog’s training, including the nutrition and drugs that are injected into

the dog. These journals are kept secret, so that another handler does not discover the

training techniques.27




24
   See Bank & Zawistowski, supra note 3.
25
   Id.
26
   Id.
27
   See Nancy Lawson, The Cost of Dog Fighting, ANIMAL SHELTERING, Nov./Dec. 2007, at 32, 34, available at http://
www .animalsheltering .org/ resource_library/ magazine_articles/ nov_dec_2007/ costs_of_dogfighting .pdf.


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                Often, professional handlers will travel long distances to participate at

larger events that offer a higher purse. Because large amounts of money exchange

hands at professional dog fighting events, they sophisticated organization and security

and, as a result, are notoriously difficult for police to infiltrate.28 Most events require

knowledge of code words and identification before a person is allowed to enter.29 To

guard against police raids, organizers may listen to police monitors, and armed guards

sometimes patrol the venue, careful to keep an eye open for law enforcement or others

who would disrupt the event.30 According to reports, officials believe that there are

roughly forty thousand active professional dog fighters in the United States and that the

number will continue to rise as long as dog fighting remains lucrative.31

                Like professionals, hobbyists also view dog fighting as a lucrative venture

but are more drawn to the sport for its entertainment value.32 While most hobbyists

occasionally fight their dogs for money, the majority of their involvement in the sport

comes from being spectators and wagering on the fights.33 Generally, hobbyists own

few fighting dogs, but they will still participate in organized fights.

                Of all the dog fighters, the largest and fastest growing group is referred to

as the “street fighters.” Associated most commonly with gangs and young people, this

group views dog fights as a forum to prove their own superiority and toughness.34

Generally, these dog fights are unorganized and devoid of any formal rules. The fights

28
   Jamey Medlin, Pit Bull Bans and the Human Factors Affecting Canine Behavior, 56 DEPAUL L.REV. 1285, 1300–03
(2007).
29
   THE FINAL ROUND: A FIGHT TO THE FINISH (Humane Soc’y of the U.S. Prods. 2007).
30
   Medlin, supra note 29, at 1300.
31
   Bank & Zawistowski, supra note 3.
32
   Id.
33
   See Medlin, supra note 29, at 1301.
34
   See Bank & Zawistowski, supra note 3.


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often take place in full public view on streets, alleyways, or in backyards.35 The cruelty

associated with the street fighters is often where the most harrowing stories of dog

abuse originate because most street fighters view the dogs as disposable, even more so

than typical handlers.36 In a particularly brutal and heinous case two pit bulls, one of

which was either pregnant or still nursing a litter, were stabbed, dragged by a moving

vehicle, and then burned alive by two teenage boys, who were believed to be associated

with dog fighting.37

                 Perhaps even more alarming than the cruelty associated with this group is

the pervasiveness of the sport to young children. According to Sgt. Steve Brownstein of

Chicago’s Animal Abuse Control Team, “In many neighborhoods where gangs are

strong, you now have 8-, 9-, and 10-year olds conducting their own dogfights. Or being

spectators at the fights people are holding.”38 Officials agree this is the largest and

fastest growing group of dog fighters with an estimated one hundred thousand “street

fighters” currently in the United States.39




35
   Id.
36
   See Id.
37
   See Liz Ford, 2 Pit Bull Terriers Euthanized After Being Set on Fire in Dallas, DALLAS MORNING NEWS, April 9,
2009, available at 2009 WLNR 6536625.
38
   Gibson, supra note 7.
39
   Dogfighting a Booming Business, Experts Say, CNN, July 19, 2007, http:// www .cnn .com/ 2007/ US/ 07/ 18/ dog
.fighting.


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                 b.       The Dogs Used

                 Although the types of dogs used for dog fighting varies greatly depending

upon the geographic region, the breeds most commonly used in the United States are

Fila Brasileiros, Dogo Argentinos, Presa Carnarios, and Pit Bulls.40 The term Pit Bull has

a broad definition that can refer to as many as five breeds. The narrowest definition

includes only the American Pit Bull Terrier and the American Staffordshire Terrier; the

broadest definition also includes the Bull Terrier, the American Bulldog, the

Staffordshire Bull Terrier and mixes of the five breeds.41 No matter the name given to

these animals, generally speaking they are very powerful dogs and can inflict

substantial damage against animals and humans alike.

                 Although recent events have painted pit bulls as aggressive and violent,

generally speaking, pit bulls are known for their intelligence, strength and courage.42

Interestingly enough, pit bulls can also be gentle, devoted and affectionate.43 During the

early twentieth century, pit bulls were often referred to as “nursemaids or nanny dogs”

because of their gentle disposition and protective nature towards young children.44 This

gentle nature and devotion to humans makes these breeds particularly appealing to dog

fighters because “[pit bulls] will withstand considerable abuse and neglect at the hands

of their owners and will remain loyal and non-aggressive towards humans.”45 Because

of their inherent strength and gentle demeanor towards humans, pit bulls are favored

40
   ASPCA, supra note 2.
41
   ASPCA, Virtual Pet Behaviorist - The Truth About Pit Bulls, http:// www .aspcabehavior .org/ articles/ 193/
The-Truth-About-Pit-Bulls .aspx (last visited May 6, 2010).
42
   Id.
43
   Id.
44
   Id.; see Tyla Hafstrom, America’s Nanny Dog, TIMES-STANDARD (Eureka, Cal.), Sept. 25, 2007, available at http://
www .times-standard .com/ opinion/ ci_6993026.
45
   See Gibson supra note 7.


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more than any other breed by dog fighters, and as a result of this favor, “pit bulls have

been subjected to cruelty, abuse and mistreatment to a degree and on a scale that no

other breed in recent history has ever had to endure.”46

                c.       How they are treated

                The lives of fighting dogs are not to be envied. These dogs do not lead

normal lives, but rather every aspect of the dog’s life is carefully calculated to

antagonize and thereby increase the aggression level of the dog. Many fighting dogs

spend their entire lives without basic nutrition, shelter and healthy socialization with

humans and other animals. Rather, fighting dogs spend the majority of their lives in

filthy conditions, penned in small cages or chained up with heavy chains across their

neck.47 As the dog grows, owners will add weights to the chains in order to increase the

dog’s strength.48 Generally, the dogs are kept in close proximity to other fighting dogs

in order to further antagonize and increase anxiety levels.49 The dogs are also beaten

and goaded on a daily basis in order to raise the dog’s tolerance towards pain and

increase the “fight” within the dog.50 At the professional level, fighting dogs receive

better care in that they are at least fed on a daily basis and their exercise is monitored.

However, these dogs are often injected with steroids, and various other legal and illegal

drugs to increase the size, strength, and aggressiveness in the dog.51 If the dog fighters

are hobbyists or even street dog fighters, the dogs may receive significantly less care. To

46
   KAREN DELISE, FATAL DOG ATTACKS: THE STORIES BEHIND THE STATISTICS 85 (2002).
47
   See Jacob Silverman, How Dog Fighting Works, HOWSTUFFWORKS, July 27, 2007, http:// www .howstuffworks .com/
dogfigthing .htm/ printable.
48
   Id.
49
   Brittany Bacon, Inside the Culture of Dogfighting: From Blood Money to Bragging Rights, Dogfighting is More
Popular Than You Might Think, ABC NEWS, July 19, 2007, http://abcnews.go.com/print?id=3390721.
50
   See Bank & Zawistowski, supra note 3.
51
   See Gibson, supra note 7.


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increase aggression, these dogs may be starved, have lit cigarettes burned into their

coats, or may be beaten with a variety of crude instruments including broken bottles,

pipes, or even machetes.52

                 Further adding to the suffering of these animals, some handlers

purposefully disfigure their dogs in a crude attempt to give their dog an advantage in a

fight. Handlers will cut off a dog’s ears and tail, lest another dog latches onto them

during a fight.53




52
 See Pet Pit Bull - Sad Reality, http://www.pitbullsontheweb.com/petbull/sadreality.php (last visited May 6, 2010).
53
 Kate Bonny, Cosmetic Surgery: Tail Docking, Ear Cropping, and De-Clawing, TAILS (Vernon County Humane Soc’y,
Viroqua, Wis.), Fall 2004, at 1, 2, available at http:// www .vchumane .org/ files/ VCHS_Tails_fall04. pdf.


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                  While tail docking, as it is referred to by the veterinarians, can be done

without anesthesia, cropping a dog’s ears is a very invasive procedure and requires

anesthesia and extensive care for the dog to successfully recover.54 Both procedures are

often done in the dogfighting world with dull, unsterilized objects, such as scissors or

knives, without any anesthetic and without proper medical attention, leaving the dog

disfigured and at risk for infection or other serious health problems.55 Dog fighters also

employ teeth filing or teeth sharpening as another method to increase their dog’s

prowess in the ring. Though not done by all handlers, the procedure of teeth sharpening

is essentially where a dog’s teeth are filed to be as sharp as possible, which in turn

would inflict greater injury on the opposing dog.56

                  For fighting dogs, training begins while the dog is still a puppy. While the

level of training a particular dog receives depends highly upon each individual handler.

Each handler strives to increase the level of “gameness” or aggressiveness in their dog

and will resort to any means necessary to accomplish this goal. Most commonly,

fighting dogs will exercise on small treadmills for long periods of time to increase the

dog’s stamina.57 Less affluent trainers tie the dog’s leash to a running vehicle, forcing

the dog to run behind a moving car for miles on end.58 Trainers will also employ “jump

poles,” which is where a tire dangles from a large pole and the dog attempts to hang

from the tire as long as possible to increase stamina and jaw strength.59
54
   Vet4Petz, Pet Health: Cosmetic Surgery, http://www.vet4petz.com/articles/cosmetic_surgery.htm#debark (last visited
May 6, 2010).
55
    Deanna Raeke, Pit Bull Puppy Maimed—Video, FOR LOVE OF DOG BLOG, April 6, 2009, http://
fortheloveofthedogblog .com/ news-updates/ pitbull-puppy-maimed-video.
56
   See OFF THE CHAIN, supra note 14.
57
   See Gibson, supra note 7.
58
   Bacon, supra note 49.
59
   Gibson, supra note 7.


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                 One of the more sadistic training methods utilized by handlers is referred

to as the “Catmill or Jenny.” Similar to a “carnival horse walker with several beams

jetting out from a central rotating pole,” the Jenny is used to increase the dog’s stamina

by attaching the dog to one part of the pole and attaching “bait” to another end of the

pole, thus allowing the dog to run continuously for long periods of time.60 The bait can

range anywhere from toys to actual animals, including rabbits, cats, or even small dogs,

and in some instances, these “bait” animals are household pets that have been stolen

from backyards.61 After the workout, the dog is usually rewarded with the bait animal

and mauls it to death.62

                 Early in the dog’s training, it may be forced to participate in a “roll,”

which is a controlled fight where young dogs are taught to lunge at each other.63 As the

dog’s training progresses, the dog is paired against an older dog to ascertain the dog’s

demeanor and “gameness.” Trainers will also steal larger dogs, such as German

Shepherds, Doberman Pinchers, or Labs, from neighborhoods to stage “rolls” against

their fighting dogs. Often times, these bait dogs are muzzled in an attempt to limit

injuries to the fighting dogs, while the trainer encourages the fighting dog to attack.

Other times, handlers utilize metal wiring to tie bait animals legs together in order to

prevent the bait from fleeing.64 During any of these rolls, the trainers attempt to

determine the aggressiveness, strength, and willingness to fight present in the dogs. If


60
   Id.
61
   Maryann Mott, U.S. Dog-Fighting Rings Stealing Pets for “Bait,” NAT’L GEOGRAPHIC NEWS, Feb. 18, 2004, http://
www .news .nationalgeographic .com/ news/ 2004/ 02/ 0218_040218_dogfighting .html
62
   See Gibson, supra note 7.
63
   Id.
64
   Stray Rescue of St. Louis, History of Stray Rescue, http://www.strayrescue.org/node/35 (last visited May 6, 2010).


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the dog shows the requisite level of aggression, it is deemed ready to fight, but if the

dog exhibits any signs of disinterest in fighting or fear, the dog will most likely be

neglected, abandoned or killed.65

                 d.       The Fights and Rules

                 Similar to other clandestine activities, dog fighting can take place in a

variety of locations as long as the location provides a certain level of privacy. Experts

report that dog fights takes place in a multitude of locations, including abandoned

buildings, barns, basements or garages.66 The actual dog fight takes place in a pit, which

can be an actual hole dug in the ground or a ring constructed of wood and spanning

anywhere around fifteen to twenty feet.67 Normally, the floor of the pit is covered with

carpet to absorb blood from the dogs.68 At more structured dog fighting events, a

referee is selected to oversee the match and ensure certain rules are followed. While dog

fighting rules may vary from venue to venue, the most commonly followed rules

governing dog fighting are the Cajun Rules.69 Written by former Louisiana police chief

G.A. Trahan, these rules are the most popular among professional dog fighters.70

                 Before each fight referees will ask the handlers to weigh their dogs and

wash the opponent’s dog to ensure the dogs’ coats are not covered in poison.71 After

which, the dogs are placed behind their separate scratch lines, which is similar to

corners in boxing, until the referee sounds for the start of the match. According to the

65
   See OFF THE CHAIN, supra note 14.
66
   See Gibson, supra note 7.
67
   See OFF THE CHAIN, supra note 14.
68
   Id.
69
   G.A. (Gaboon) Trahan, Cajun Rules, http://www.sporting-dog.com/select-pages/cajunrules.htm (last visited May 6,
2010).
70
   Sporting Dog Online, Features, http://www.sporting-dog.com/features.html (last visited May 6, 2010).
71
   See Trahan, supra note 69; Silverman, supra note 47.


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rules, handlers are forbidden from physically interfering during the match but may

shout at the dogs instead. The match continues until one of the dogs can no longer fight.

A dog is deemed unable to continue if it refuses to fight, jumps out of the ring, or

sustains a serious injury.72

                  Aside from ending a match, a referee will usually only stop the match for

two other reasons. One instance is when a dog turns away from the other dog, in which

case, the referee will call a “turn” and both dogs will return to their handlers.73 The dogs

will then return to their “scratch lines” and the referee will restart the fight. If a dog fails

to attack or stays at its scratch line, the dog will forfeit and the match will be called. The

other instance is when a dog’s upper lip becomes hooked on its own teeth, termed

“fanged” in the fighting world, in which case, the handler will be allowed to unhook the

dog’s teeth. During each break in the fight, handlers are allowed to provide water for

their dogs from a water bottle, which is subject to inspection prior to the match.74

                  The duration of a dog fight on average is roughly about an hour, but it is

not uncommon for fights to last longer.75 During the fight, fans and spectators place

bets and watch eagerly as the dogs rip into one another. Like the sport itself, fans and

spectators range in backgrounds from affluent to low income. Disturbingly, fans often

bring their children to these sporting events and view these grisly events as family

appropriate forms of entertainment. As one father commented, when asked whether it

was appropriate to bring his five year old son to a dog match, “Life in general is violent

72
   Silverman, supra note 47.
73
   Id.
74
   Id.
75
   Humane Soc’y of the U.S., Dog Fighting Fact Sheet, http://hsus.org/acf/fighting/dogfight/dogfighting _fact_sheet/ (last
visited August 12, 2009).


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. . . big fish eat little fish, the world we live in is cynical and cruel. I want my son to

adapt to this from the very beginning of his childhood. . . . Maybe the sight of these

dogs fighting will instill in him the determination to fight for his place under the sun.”76

                  e.       The Winners and Losers

                  If a dog is successful at a fight, the handlers can receive substantial prizes

and monetary rewards. First, winning handlers receive cash prizes ranging from a few

hundred dollars to several thousand dollars depending on the size of the event.77 At

highly organized events, the low-end winning handlers receive around $50,000, but at

larger dog fights, involving international handlers, purses can be as high as $1–2

million.78 Assuming the dog survives the injuries sustained during the fight, another

benefit winning handlers can expect is breeding. One of the most lucrative aspects of

dog fighting occurs when handlers attempt to create good fight lines through their dogs

by breeding winning dogs with other winning dogs. Generally, the more successful a

dog is during its campaign as a fighter, the more money its puppies will be worth.79 If a

dog wins three or more fights and reaches the title of “Champion,” the puppies of that

dog will be substantially more valuable. Puppies from a good champion bloodline can

cost anywhere from a few hundred to several thousand dollars per puppy.80 To date,

the most expensive fighting dogs sold were raised by Floyd Bourdeaux. At one time




76
   See Fighting by Proxy, supra note 20.
77
   Best Friends Animal Soc’y, Dog Fighting in Georgia, http://fightdogfighting.com/dogfighting_georgia.cfm (last visited
Aug. 12, 2009).
78
   See Bacon, supra note 49.
79
   See Silverman, supra note 47.
80
   Id.


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considered one of the biggest figures in dog fighting, Floyd Bourdeux reportedly

charged $5000 per dog.81

                 The losing dogs, however, do not fare as well. Almost always, the losing

dogs are killed or abandoned by their handlers following the match, unless they have a

history of prior wins or come from a good blood line. This practice of abandoning or

killing these dogs is done for a number of reasons. First, most losing dogs suffer such

severe injuries that they stand little or no chance of survival without substantial medical

care, and as such, handlers are unable to fight the dogs again.82 Second, handlers

dispose of these injured animals to destroy the evidence that they are involved in

anything illegal. Caring for an injured dog may raise suspicion and jeopardize a

handler’s dog fighting operation so handlers will either kill or abandon the injured dogs

to avoid attracting unwanted attention.83 Another reason handlers kill losing dogs is to

avoid embarrassment and damage to the handler’s reputation. In the dog fighting

world, a handler’s dog and its prowess as a fighter are often viewed as a personal

reflection on the handler.84 This is especially common among though not limited to

gang members who view their own dog as a reflection of their status in the gang.85

While a successful dog may elevate a gang member’s status, a losing dog reflects poorly

on a gang member’s image. In order to save face, gang members will torture and kill the

losing dog in horrific ways to reassert their tough image within the gang.86 For example,

81
   Tom Weir, Vick Case Sheds Light on Dark World of Dogfighting, USA TODAY, July 27, 2007, available at http:// www
.usatoday .com/ sports/ football/ nfl/ falcons/ 2007-07-18-vick-cover_N .htm.
82
   See Laura Smith-Spark, Brutal Culture of US Dog Fighting, BBC NEWS, Aug. 24, 2010, http:// www .bbc .co .uk/
2/ hi/ americas/ 6960788.stm.
83
   See OFF THE CHAIN, supra note 14.
84
   See Bacon, supra note 49.
85
   Id.
86
   See Gibson, supra note 7.


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it is not uncommon for losing dogs to be drowned, hanged, electrocuted, burned alive,

doused with corrosive chemicals or beaten to death with blunt objects.87 This list is not

exhaustive, however, and animal rescuers are constantly surprised at how grisly these

deaths are as handlers resort to more disturbing tactics to reassert their tough image.88

No matter the reason for disposing of the losing dog, the torture and ultimate death of

the dog is almost always done in front of the crowd, who view this simply as part of the

sport.89




87
   See Weir, supra note 81.
88
   See Pet Pit Bull - Sad Reality, supra note 52.
89
   See Silverman, supra note 47.


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         V. Criminal Activity Associated with Dog Fighting

                  A fundamental misconception most Americans have about dog fighting is

that dog fighting is isolated from other criminal activity and is only a concern for animal

rights activists. This concept that dog fighting is really an animal rights issue is

misguided. In reality, dog fighting is closely associated with some of the most serious

crimes plaguing our society and may involve people with extensive criminal

backgrounds.90 Because of the secretive nature of dog fighting, the events are frequently

the scenes of other more dangerous crimes including illegal gambling, drug

distribution, prostitution, illegal weapons exchange, and even homicide.91 For example,

one state trooper stated that in a three year period, “We’ve seized AK-47’s, explosive

devices, [and] a kilo of crack. The drugs and weapons associated with this sport are

unbelievable.”92 Another law enforcement agent jokingly compared dog fights to

convenience stores for criminals: “It’s like one-stop shopping.”93 Police departments

across the United States are realizing how interwoven dog fighting is with other serious

crimes. Because of the connection dog fighting has with other crimes, police

departments across the nation are forming specialized operations to concentrate only on

dog fighting because busting a dog fight could potentially help police “take out a whole

miniature crime syndicate.”94


         VI. The Victims of Dog Fighting

90
   See Gibson, supra note 7.
91
   Id.
92
   Weir, supra note 81.
93
   Lawson, supra note 27, at 36.
94
   Id.


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                 While many dog fighting enthusiasts advertise the blood sport as a

victimless crime, there are in fact many who suffer at the hands of these handlers. The

obvious victims of this blood sport are the dogs themselves, who spend their entire lives

trapped in a violent and brutal world, but this sport has other, less obvious victims like

the children who are forced to bear witness to these violent acts and society which

shoulders the economic burden this sport creates.

                 a.      Children

                 The effect dog fighting has on children may at first seem limited but

studies report exposing children to organized violence and torture of animals has a

lasting impact on children. First, the dog fighting world may expose children to a

multitude of dangerous and illegal activities that threaten their general welfare, such as

drugs, gangs, prostitution, and even murder. Criminal activity aside, children raised in

homes with fighting dogs are also at risk for potential injury, since these dogs are

poorly socialized, antagonized to bring out aggression, and lack “positive attachment to

humans”.95

                 Furthermore, many studies indicate that children who witness organized

torture and violence, like dog fights, are more likely to become anesthetized to violence

and will be more likely to commit future crimes. “Countless studies indicate that

children who are raised in violent, bullying, abusive homes learn that behavior and

repeat it throughout their lives.”96 Further studies suggest, “people who abuse animals


95
 KAREN DELISE, THE PIT BULL PLACEBO: THE MEDIA, MYTHS, AND POLITICS OF CANINE AGGRESSION 135 (2007).
96
 Jared Squires, The Link Between Animal Cruelty and Human Violence: Children Caught in the Middle, 8 KY. CHILD.
RTS. J. 2, 2 (2000).


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are five times more likely to commit violent crimes against humans.”97 Moreover, the

FBI has studied the connection between violence involving animals and the effect on

children. Indeed, the FBI has found that witnessing and imitating violent behaviors

against animals is extremely damaging to a young child and helps to condition that

child for future violent behaviors, so much that the FBI uses animal abuse to profile

serial killers. The connection between animal abuse and the effect on children is

undeniable, simply view a list of recent serial killers to find that generally their first

victims were usually animals.98 Studies focusing specifically on sex offenders provide

“that 48% of rapists and 30% of child molesters admitted to acts of animal cruelty in

childhood or adolescence.”99 When children witness dog fights, where violence, torture,

and cruelty are valued, even glorified, such statistics come as little surprise. In such a

setting, children learn to inhibit their compassion for the suffering of other creatures,

which are both smaller and weaker.

                 The effect of dog fighting on children has not gone unnoticed by gangs.

“Some gangs use the bloody sport to desensitize younger gang members, [Chicago

Police Sergeant Brian] Degenhardt said. ‘It’s initiation through blood,’ he said. ‘They

use them to deaden their senses to violence.’”100 More troubling still is the rate at which

American children are becoming exposed to this sport. A recent study indicates one out

of every five children in Chicago has witnessed a dog fight, but another study suggests



97
   Id. at 5.
98
   Id. at 3.
99
   Id. at 5.
100
    Angela Rozas, Cops Look for Gangs Behind Each Dogfight: Animal Crimes Unit Now Part of Gang Investigations,
CHI. TRIB., Aug. 29, 2008, at 3, available at 2008 WLNR 16335238.


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the number is closer to four out of every five children.101 Because of the significant

damage the sport causes children, dog fighting offenses must be treated with the utmost

seriousness in order to avoid a future generation that is devoid of compassion and

anesthetized to violence.

                 b.      Society

                 Dog fighting also negatively affects our society because of the economic

burden the sport places on our society. Animal shelters are constantly overwhelmed by

the large numbers of fighting dogs they receive each year. Nationwide, pit bulls and pit

bull mixes comprise up to a third of dog intake; in city facilities, that figure can be as

high as seventy percent.102 In many instances, these dogs must be housed for months on

end, while the handlers are prosecuted and lose legal custody of their dogs. While

handlers are being prosecuted, animal shelters try and meet the unique challenge of

providing shelter for dogs, which have been trained to be both strong and aggressive

towards other animals. “We had to go back and re-engineer our housing because the

dogs were able to literally pull apart the cages,” said Mark Kumpf, director of the

Montgomery, Ohio animal shelter in Dayton.103 Aside from housing issues, animal

shelters must also provide extra security in order to prevent handlers from taking back

their own dogs or other handlers stealing rescued fighting dogs to use in their own

matches.104 As a result, it has fallen to tax payers across the United States to foot the bill


101
    Nancy Lawson, Animal Cruelty & Fighting Campaign, Humane Soc’y of the U.S., A Nation in the Ring Part 3: Pit
Bulls as Currency (Sept. 7, 2007), http://www.hsus.org/acf/news/dogfighting_national_epidemic_3.html.
102
    Nancy Lawson, Animal Cruelty & Fighting Campaign, Humane Soc’y of the U.S., A Nation in the Ring Part 2: The
Costs of Dogfighting (Sept. 7, 2007), http://www.hsus.org/acf/news/dogfighting_national_epidemic_2.html.
103
    See Lawson, supra note 27, at 35.
104
    Id.


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to house these dogs. For example, in Houston, $133,000 were spent housing pit bulls

annexed from a single property.105 Another Ohio county has reported spending over a

half a million dollars to house fighting dogs since 2002.106 The most famous example

comes out of the Michael Vick case, discussed later. Vick was required “to pay close to a

million dollars for the costs of caring for the [fighting] dogs.”107

                 Another source of economic drain regarding dog fighting is the effect it

has had on the feral dog population in the United States. Directly tied with dog fighting,

feral dog populations have increased dramatically due to handlers abandoning their

fighting dogs on the streets or in deserted rural areas.108 The cities of Los Angeles,

Detroit, New Orleans, Cleveland, New York, Baltimore, Houston, Indianapolis, Santa Fe

and Pittsburgh all reported an increase in the feral dog population to the point it has

reached epidemic proportions.109 In Los Angeles alone, the city estimates the feral dog

population is as high as 50,000 dogs, and as a result of this growing population, two

hundred thousand people sustained dog bites from abandoned dogs in a single year.110

In urban areas, dog bites from feral dogs are not uncommon, especially among children,

making many neighborhoods unsafe because packs of feral dogs patrol the streets in

search of food.111 In rural areas when food supplies dwindle, feral dogs have been

known to attack livestock and wild animals living in the area, resulting in the

105
    Id.
106
    Id.
107
    Rebecca Huss, Lessons Learned: Acting as Guardian/Special Master in the Bad Newz Kennels Case, 15 ANIMAL L.
69, 73 (2008).
108
     See Maryann Mott, U.S. Facing Feral Dog Crisis, NAT’L GEOGRAPHIC NEWS, August 21, 2003,
http://news.nationalgeographic.com/news/2003/08/0821_030821_straydogs.html.
109
    Stray Rescue of St. Louis, An Underground Epidemic: America’s Wild Street Dogs Bringing the Feral Dog Epidemic
to the Forefront of Animal Welfare, http://www.strayrescye.org/node/319 (last visited May 6, 2010).
110
    Id.
111
    See Panorama: Dog Fighting Undercover (BBC One television broadcast Aug. 30, 2007), transcript available at
http:// news .bbc .co .uk/ 2/ hi/ programmes/ panorama/ 6976011 .stm.


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destruction of millions of dollars in livestock and shrinking wild animal populations.112

The main problem facing cities across the United States is that feral dog population

increases on a daily basis, and animal control simply lacks the financial resources to

control the feral dog population. As a result, these dogs and the damage they create

inevitably become the tax payer’s burden.




112
      Id.


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        VII. Congressional Action

                 The Animal Welfare Act was the first federal law in which Congress

banned animal fighting. Originally enacted in 1966 under the commerce clause,113 the

1976 amendment to the act became the first instance of Congress exercising its power to

ban animal fighting.114 On May 3, 2007, President Bush signed into law the Animal

Fighting Prohibition Enforcement Act of 2007, which increased the penalties for dog

fighting to up to three years in prison.115 “In 2008, the passage of the Food Conservation

and Energy Act increased the maximum time for imprisonment for dog fighting

ventures to five years.”116 In 2008, dog fighting became a crime in all fifty states, with

Idaho and Wyoming being the final states to make the crime a felony.117


        VIII. Michael Vick Case and Its Effect as a Deterrent

                 While Congress continues to combat dog fighting, many animal activists

cite to the recent Michael Vick case as a key victory because the case brought national

media attention to the problem, exposing the dark world of dog fighting to the

American public. One of the most famous dog fighting cases in recent legal history,

Michael Vick, an NFL football player, was sentenced to 23 months in prison after he

pled guilty to “conspiring to travel in interstate commerce in aid of unlawful activities

and sponsoring a dog in an animal fighting venture.”118 As stipulated by his plea

agreement, Michael Vick admitted to killing between six to eight pit bulls by drowning
113
    Pub. L. No. 89-544, 80 Stat. 350 (1966) (codified at 7 U.S.C. §§ 2131–2159 (2006)).
114
    See Gibson, supra note 7.
115
    Pub. L. No. 110-22, 121 Stat. 88.
116
    Huss, supra note 107, at 72; see also 18 U.S.C. § 49 (Supp. I 2007).
117
    Huss, supra note 107, at 72.
118
    See id. at 71.


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or hanging.119 Having now served his twenty-three month sentence, Vick has been

conditionally reinstated in the NFL and the Commissioner of the NFL has hinted that

Vick may be officially reinstated by October of 2009.120 Furthermore, Michael Vick has

recently been picked up by the Philadelphia Eagles, who offered Vick a one year, $1.6

million contract with a $5.6 million option.121

                  Even though animal advocates may view the Michael Vick case as a

triumph, Michael Vick has failed to serve as an adequate deterrent to our society. A

problem with using Michael Vick’s case as a deterrent is that many people believe Vick

was simply a victim of the establishment and believe he was only targeted because he

was a celebrity. For example, Redskin football player Clinton Portis publicly defended

Vick, stating “I know a lot of back roads that got a dog fight if you want to go see it. But

they’re not bothering those people because those people are not big names.”122 When

asked what if Vick is charged and convicted, Portis stated: “Then I think he got

cheated. . . . You’re putting him behind bars for no reason—over a dog fight.”123

Furthermore, despite Vick’s status as a felon, he is still viewed by children as a role

model or someone to emulate. It has not deterred “young urban tough guys.”124 As

Randy Grim, executive director of Stray Rescue of St. Louis, stated: “It actually

generated more interest among urban youth,” as kids who believed that dog fighting

119
    Id. at 72.
120
    NFL Reinstates Michael Vick on Conditional Basis, CNN, July 27, 2009, http:// www .cnn .com/ 2009/ US/ 07/ 27/
michael .vick/ index.htm.
121
    Judy Battista, In a Surprise, Vick Signs with the Eagles, N.Y. TIMES, Aug. 13, 2009, at B8, available at http:// www
.nytimes .com/ 2009/ 08/ 14/ sports/ football/ 14vick .html.
122
    Portis, Samuels Mock Dogfighting Cases, RICHMOND TIMES-DISPATCH, May 22, 2007, at D3, available at 2007
WLNR 9792313.
123
    Id.
124
    Sharon L. Peters, A Fight to Save Urban Youth From Dogfighting, USA TODAY, Sept. 29, 2008, available at http://
www.usatoday.com/news/nation/2008-09-29-dogfighting_N.htm.


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was a sport for rural or poor urban areas saw that the affluent were also involved.125

While the Michael Vick case may have raised awareness of the horrors of dog fighting,

it is clear that it has done little to combat the ever growing popularity of this sport.


            IX. Conclusion

                      Dog fighting, once an accepted form of entertainment is now illegal in all

50 states and by Act of Congress as well. It has been driven underground and may be

associated with other forms of illegal activities.

                      DATED this 17th day of September, 2010



                                                       s/Michael J. Reagan
                                                       MICHAEL J. REAGAN
                                                       United States District Judge




125
      Id. (alteration in original).


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